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 2
                                  IN THE UNITED STATES DISTRICT COURT
 3
                                          DISTRICT OF OREGON
 4
                                          PORTLAND DIVISION
 5

 6                                                   Case No.:   3:18-CV-01388-HZ
     Benjamin Kerensa,
 7                                                   MOTION FOR EXEMPTION FROM PAYMENT OF THE
                     Plaintiff,                      PACER USER FEE
 8
              vs.
 9
     U.S. Department of Homeland Security,
10
                     Defendant
11

12
              Movant Kerensa holding the following PACER account login name "bkerensa"
13
              (without quotations) requests an exemption from payment of the Electronic Public
14
              Access Fee ("PACER User Fee") which is prescribed by the Judicial Conference of
15
              the United States as set forth in 28 U.S.C. § 1930. In support of this Motion
16
              for Exemption From Payment of the PACER User Fee, the movant states as follows:
17
         1.   Movant is Indigent and has previously filed an Application to Proceed In forma
18
              Pauperis with this court.
19
         2. Exemption from payment of the PACER User Fee is necessary in order to avoid
20
              unreasonable burdens.
21
         3. Movant agrees that all information obtained using a fee-exempt PACER account
22
              will not be sold for profit or otherwise exchanged for value.
23
         4. Movant requests an exemption as a pro se plaintiff.
24
         5. Movant acknowledges that exemption from payment of the PACER User Fee will be
25
              granted for a maximum term of 36 months for courts or 12 months for all other
26
              PACER users.
27

28




       MOTION FOR EXEMPTION FROM PAYMENT OF THE PACER USER FEE - 1
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 1       6. Movant acknowledges that movant may not knowingly permit or cause to permit the

 2         Pacer User Fee exemption to be used by anyone other than an authorized agent of

 3         the movant. Furthermore, movant acknowledges that use of the fee-exempt PACER

 4         account shall be used only in connection with the litigation of the case before

 5         the Court.

 6       7. Movant submits that his previously filed Application to Proceed In forma

 7         Pauperis supports this motion.

 8

 9         Based upon the foregoing, the movant requests that the Court grant the Motion

10         for Exemption From Payment of the PACER User Fee and retroactively waive any

11         accrued fees from the date of the initiation of this case.

12

13                            DECLARATION UNDER PENALTY OF PERJURY

14

15   I declare under penalty of perjury that the foregoing statements and information are

16   true and correct to the best of my knowledge, information and belief.

17

18   Date: 7/30/18

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21                                                                      Benjamin Kerensa

22                                                            Movant I Plaintiff in Pro Se

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       MOTION FOR EXEMPTION FROM PAYMENT OF THE PACER USER FEE - 2
